 Case 4:21-cr-06028-MKD              ECF No. 183        filed 03/15/22      PageID.968 Page 1 of 1




      United States District Court, Eastern District of Washington
                              Magistrate Judge James P. Hutton
                                          Richland

USA v. LETICIA RODRIGUEZ                                        Case No.         4:21-CR-6028-MKD-7

                        The Defendant agreed to appear via video conference.

 Arraignment/Initial Appearance on Second Superseding                                         03/15/2022
 Indictment:

 ☒ Sara Gore, Courtroom Deputy [R]                      ☒ Stephanie Van Marter, US Atty (video)
 ☒ Pam Howard, Courtroom Deputy [Y]                     ☒ Nicholas Marchi, Defense Atty [R]
 ☒ Carrie Valencia, US Probation / Pretrial             ☒ Interpreter NOT REQUIRED
   Services Officer (tele)
 ☒ Defendant present ☒ in custody USM                   ☐ Defendant not present / failed to appear
   appeared by video from Benton County Jail


 ☐    USA Motion for Detention                          ☒    Rights given
 ☒    USA not seeking detention                         ☒    Acknowledgment of Rights filed
 ☒    Financial Affidavit (CJA 23) filed                ☒    Defendant received copy of charging document
 ☐    The Court will appoint the Federal Defenders      ☒    Defendant waived reading of charging document
 ☒    Based upon conflict with Federal Defenders, the   ☐    Charging document read in open court
      Court will appoint Nicholas Marchi, a CJA Panel
      Attorney
 ☐    PRE-Trial Services Report ordered                 ☐    POST Pre-Trial Services Report ordered

 ☒    AO Advice of Penalties/Sanctions filed


                                               REMARKS
        Defendant appeared and was assisted by counsel and advised of her rights and the allegations
contained in the charging document.
        The Defendant acknowledged to the Court that her true and correct name is: Leticia Rodriguez.
        “Not guilty” plea entered.
        Discovery to be provided pursuant to the local rule on discovery.
        USA requests additional conditions of curfew and GPS monitoring be added.
        Defense counsel has no objections.

The Court ordered:
       1. Conditions of release imposed upon Defendant which were read to her in Court. Order
          forthcoming.
       2. As required by Rule 5(f), the United States is ordered to produce all information required by
          Brady v. Maryland and its progeny. Not doing so in a timely manner may result in sanctions,
          including exclusion of evidence, adverse jury instructions, dismissal of charges, and contempt
          proceedings. Order forthcoming.

Digital Recording/R-326                Time: 2:53 p.m. – 3:07 p.m.                                    Page 1
